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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

                       Plaintiffs,

       v.                                          Case No. 24-cv-03220 (DLF)


XAVIER BECERRA, et al.,


                       Defendants.


               CONSENT MOTION TO VACATE THE ANSWER DEADLINE
                AND SET SUMMARY JUDGMENT BRIEFING SCHEDULE

       Plaintiffs Eli Lilly and Company and Lilly USA, Inc., by and through undersigned counsel,

respectfully move to vacate Defendants’ deadline to answer Plaintiffs’ Complaint (ECF No. 1) and

set a briefing schedule in this matter. Defendants, through counsel, consent to the relief sought in

this motion.

       1.      This lawsuit involves a challenge under the Administrative Procedures Act to a

Health Resources and Services Administration policy.

       2.      Plaintiffs filed their complaint on November 14, 2024.

       3.      The parties have conferred regarding the most efficient approach to this litigation.

Given the fact that the Court will be reviewing the Agency’s policies and decisions based on an

administrative record, the parties believe it would be most efficient to vacate the deadline to file a

formal answer or response to the Complaint and move directly to briefing summary judgment.

Accordingly, Plaintiffs respectfully move to vacate the deadline to answer or respond to the

Complaint.
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        4.         For the same reason, Plaintiffs respectfully move to set the following schedule in

this litigation:

             a. Defendants shall file the certified index of administrative record and serve the

                   administrative record on Plaintiffs by January 31, 2025;

             b. Plaintiffs shall move for summary judgment by February 3, 2025;

             c. Defendants shall respond to Plaintiffs’ motion and cross-move for summary

                   judgment by March 3, 2025;

             d. Plaintiffs shall file a response to Defendants’ cross-motion and any reply in support

                   of their motion by March 17, 2025; and

             e. Defendants shall file any reply in support of their cross-motion by March 31, 2025.

        5.         A proposed order is attached herewith.




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Dated: December 27, 2024                    Respectfully submitted,


                                     By: /s/ John C. O’Quinn
                                         John C. O’Quinn
                                         Matthew S. Owen
                                         Megan McGlynn
                                         KIRKLAND & ELLIS LLP
                                         1301 Pennsylvania Avenue N.W.
                                         Washington, D.C. 20004
                                         (202) 389-5000
                                         john.oquinn@kirkland.com
                                         matt.owen@kirkland.com
                                         megan.mcglynn@kirkland.com

                                            Catherine E. Stetson (D.C. Bar No. 453221)
                                            HOGAN LOVELLS US LLP
                                            555 Thirteenth Street N.W.
                                            Washington, D.C. 20004
                                            (202) 637-5600
                                            cate.stetson@hoganlovells.com


                                            Attorneys for Plaintiffs




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                            CERTIFICATE OF CONFERENCE

       Pursuant to Rule 7(m), counsel for Eli Lilly and Company and Eli Lilly USA, LLC

conferred with John Bardo, attorney for Defendants. The government consents to this motion.



 Dated: December 27, 2024                      By: /s/ John C. O’Quinn
                                                   John C. O’Quinn
                                                   Matthew S. Owen
                                                   Megan McGlynn
                                                   KIRKLAND & ELLIS LLP
                                                   1301 Pennsylvania Avenue N.W.
                                                   Washington, D.C. 20004
                                                   (202) 389-5000
                                                   john.oquinn@kirkland.com
                                                   matt.owen@kirkland.com
                                                   megan.mcglynn@kirkland.com

                                                    Catherine E. Stetson (D.C. Bar No. 453221)
                                                    HOGAN LOVELLS US LLP
                                                    555 Thirteenth Street N.W.
                                                    Washington, D.C. 20004
                                                    (202) 637-5600
                                                    cate.stetson@hoganlovells.com


                                                    Attorneys for Plaintiffs
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2024, I electronically filed the foregoing with the

Clerk of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system. I certify that all participants in this case are registered CM/ECF users and that

service will be accomplished by using the CM/ECF system.



 Dated: December 27, 2024                       By: /s/ John C. O’Quinn
                                                    John C. O’Quinn
                                                    Matthew S. Owen
                                                    Megan McGlynn
                                                    KIRKLAND & ELLIS LLP
                                                    1301 Pennsylvania Avenue N.W.
                                                    Washington, D.C. 20004
                                                    (202) 389-5000
                                                    john.oquinn@kirkland.com
                                                    matt.owen@kirkland.com
                                                    megan.mcglynn@kirkland.com

                                                      Catherine E. Stetson (D.C. Bar No. 453221)
                                                      HOGAN LOVELLS US LLP
                                                      555 Thirteenth Street N.W.
                                                      Washington, D.C. 20004
                                                      (202) 637-5600
                                                      cate.stetson@hoganlovells.com


                                                      Attorneys for Plaintiffs
